                                     Case 21-10205                 Doc 34          Filed 02/12/21              Page 1 of 3
                                                               United States Bankruptcy Court
                                                                    District of Maryland
In re:                                                                                                                  Case No. 21-10205-MMH
John McDonnell McPherson                                                                                                Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0416-1                                                   User: smckenna                                                              Page 1 of 2
Date Rcvd: Feb 10, 2021                                                Form ID: pdfparty                                                          Total Noticed: 3
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 12, 2021:
Recip ID                 Recipient Name and Address
db                     + John McDonnell McPherson, 3900 N. Charles Street, Suite 1401, Baltimore, MD 21218-1788
aty                    + Kimberly P. West, Ashcroft Sullivan LLC, 200 State Street 7th Floor, Boston, MA 02109-2696

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                      Date/Time                 Recipient Name and Address
                       + Email/Text: ustpregion04.ba.ecf@usdoj.gov
                                                                                         Feb 10 2021 19:35:00      U.S. Trustee, 101 W. Lombard St., STe. 2625,
                                                                                                                   Baltimore, MD 21201-2668

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 12, 2021                                            Signature:            /s/Joseph Speetjens




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 9, 2021 at the address(es) listed
below:
Name                               Email Address
Alan M. Grochal
                                   agrochal@tydingslaw.com mfink@tydingslaw.com,jmurphy@tydingslaw.com

Brent C. Strickland
                                   bstrickland@wtplaw.com mbaum@wtplaw.com

James Daniel (UST) Ford
                                   j.dan.ford@usdoj.gov
                           Case 21-10205            Doc 34        Filed 02/12/21   Page 2 of 3
District/off: 0416-1                                    User: smckenna                            Page 2 of 2
Date Rcvd: Feb 10, 2021                                 Form ID: pdfparty                        Total Noticed: 3
Richard L. Costella
                          rcostella@tydings.com jmurphy@tydings.com

US Trustee - Baltimore
                          USTPRegion04.BA.ECF@USDOJ.GOV


TOTAL: 5
                              Case 21-10205     Doc 34     Filed 02/12/21       Page 3 of 3
Entered: February 9th, 2021
Signed: February 8th, 2021

SO ORDERED




                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                             at Baltimore
                                   In re:   Case No.: 21−10205 − MMH        Chapter: 11

John McDonnell McPherson
Debtor

                 ORDER GRANTING MOTION FOR ADMISSION PRO HAC VICE
The Court having considered the Motion for Admission Pro Hac Vice filed by Kimberly P. West as counsel for
Debtor John McDonnell McPherson, and his/her statements in support thereof, and upon the recommendation of
Brent Strickland, local counsel herein, it is, by the United States Bankruptcy Court for the District of Maryland,

ORDERED, that, pursuant to Local Bankruptcy Rule 9010−3(b) and District Court Local Rule 101.1(b), the motion is
granted.

To receive electronic notices and/or file electronically, Kimberly P. West must register for a CM/ECF filing account
on the court's web site at http://www.mdb.uscourts.gov/content/training−and−registration.


cc:    Debtor
       Attorney for Debtor − Brent C. Strickland
       Movant − Kimberly P. West
       U.S. Trustee

                                                   End of Order
01x01 (rev. 06/16/2015) − larter
